            Case 01-01139-AMC           Doc 22801-3       Filed 08/14/09      Page 1 of 7




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

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                                                                :
In re:                                                          :
                                                                : Chapter 11
                                                                :
W.R. GRACE & CO., et al.,                                       : Case No. 01-01139 (JKF)
                                                                : Jointly Administered
                                                                :
                                             Debtors.           : Hearing Date: September 8, 2009
                                                                :
                                                                : Re: Docket Nos. 20872, 21796, 22420,
                                                                  22539
----------------------------------------------------------------x

               TRAVELERS CASUALTY AND SURETY COMPANY’S
                   DEPOSITION DESIGNATIONS REGARDING
            PHASE II CONFIRMATION HEARING ON FIRST AMENDED
          JOINT PLAN OF REORGANIZATION DATED FEBRUARY 27, 2009


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           Case 01-01139-AMC           Doc 22801-3       Filed 08/14/09     Page 2 of 7




               Pursuant to the Fourth Amended Case Management Order Related to the First

Amended Joint Plan of Reorganization filed with this Court under a Certification of Counsel on

August 5, 2009 (the “CMO”), Travelers Casualty and Surety Company, formerly known as The

Aetna Casualty and Surety Company (“Travelers”), hereby designates as testimony for Phase II

of the Confirmation Hearing in the above-captioned case, the following testimony from the

depositions of David Austern taken on May 15, 2009, Richard Finke taken on May 13, 2009,

Elihu Inselbuch taken on June 12, 2009, and Peter Van N. Lockwood taken on May 1, 2009.

Pursuant to the CMO, highlighted copies of the deposition designations are concurrently being

supplied to counsel for the Debtors for submission to the Court on August 25, 2009.

               Travelers reserves the right to supplement or revise these designations after

receiving the other parties’ exhibit lists and deposition designations. In addition, to the extent

the Debtors fail to produce for live testimony at the Phase II Confirmation Hearing any witnesses

designated by Travelers for live examination, as set forth in Travelers Phase II Pre-Trial

Submission (dkt. no. 22539), Travelers reserves the right to submit deposition designations for

any such witnesses. Travelers further reserves the right to offer as evidence any deposition

testimony designated by any other party and the right to use deposition testimony not on this list

for impeachment, rebuttal or any other permissible purpose.

                                DEPOSITION DESIGNATIONS

1.     David Austern, May 15, 2009

The following portions of David Austern’s deposition transcript, May 15, 2009, are hereby
designated:

                                     12:20-22
                                     18:22-19:3
                                     19:8-23
                                     43:6-22
                                     46:18-47:1
           Case 01-01139-AMC         Doc 22801-3      Filed 08/14/09    Page 3 of 7

                                                                                                 3


                                   49:24-51:4
                                   51:8-52:15
                                   52:22-24
                                   95:24-96:18
                                   97:4-99:6
                                   99:16-103:24
                                   104:5-105:20
                                   105:22-106:9
                                   106:11-14
                                   107:7-10
                                   107:13-109:4
                                   110:8-11
                                   110:13-19
                                   113:10-114:21
                                   115:16-116:10
                                   118:6-12
                                   118:15-18
                                   119:1-7
                                   119:10-121:13
                                   121:17-24
                                   122:4-19
                                   122:22-123:5

2.     Richard Finke, May 13, 2009

The following portions of Richard Finke’s deposition transcript, May 13, 2009, are designated:


                                   15:23-18:2
                                   47:3-6
                                   47:9-14
                                   48:5-14
                                   91:7-19
                                   91:22-92:5
                                   92:13-93:4
                                   93:9-94:19
                                   105:14-105:24
                                   106:5-21
                                   106:24
                                   113:3-7
                                   113:11-114:13
                                   115:1-8
                                   115:11-14
                                   115:21-116:8
                                   116:13-24
Case 01-01139-AMC    Doc 22801-3    Filed 08/14/09   Page 4 of 7

                                                                   4


                    117:3-10
                    117:13-20
                    118:2-7
                    128:11-129:9
                    129:12-19
                    131:5-134:7
                    134:10-13
                    134:16-135:12
                    135:22-136:2
                    136:18-21
                    137:3-5
                    137:14-21
                    138:7-21
                    139:14-140:19
                    140:24-141:14
                    143:10-16
                    143:19-144:4
                    144:7-8
                    145:1-11
                    145:15-146:2
                    146:14-147:3
                    147:9-19
                    152:14-153:5
                    153:10-17
                    153:20-21
                    155:4-7
                    155:12-157:10
                    157:17-20
                    158:1-8
                    158:11-14
                    158:17-159:4
                    159:9-23
                    160:4-16
                    161:1-18
                    161:21-23
                    162:2-5
                    162:9-16
                    162:20-21
                    163:9-16
                    163:23-164:2
                    167:24-168:20
                    168:23-169:15
                    169:19-24
                    170:9-172:5
                    174:5-6
           Case 01-01139-AMC         Doc 22801-3      Filed 08/14/09     Page 5 of 7

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                                    174:9-176:7
                                    176:10-14
                                    176:17-18
                                    176:20-177:1
                                    177:6-179:18
                                    185:6-186:16
                                    291:20-292:4
                                    293:16-17
                                    293:20-294:11


3.     Deposition of Elihu Inselbuch, June 12, 2009

The following portions of Elihu Inselbuch’s deposition transcript, June 12, 2009, are designated:


                                    11:1-6
                                    11:22-12:10
                                    23:1-6
                                    242:10-244:13
                                    244:18-245:8
                                    245:14-246:1
                                    246:5-247:13
                                    247:15-16
                                    247:19


4.     Deposition of Peter Van N. Lockwood, May 1, 2009

The following portions of Peter Van N. Lockwood’s deposition transcript, May 1, 2009, are
designated:


                                    12:21-15:10
                                    104:2-5
                                    104:10-105:3
                                    105:12-108:22
                                    109:1-115:1
                                    254:20-255:2
                                    255:9-14
                                    256:20-257:2
                                    257:6-258:10
                                    264:1-267:16
                                    269:14-276:1
                                    276:3-16
Case 01-01139-AMC    Doc 22801-3    Filed 08/14/09   Page 6 of 7

                                                                   6


                    278:7-279:12
                    279:21-280:10
                    280:14-18
                    285:6-289:13
                    292:4-24
                    293:3-9
                    294:7-18
                    294:21-296:1
                    296:6-298:10
                    298:12-299:21
                    300:2-301:17
                    301:22-24
                    302:9-13
                    302:16-23
                    306:19-308:22
                    309:1-310:1
                    310:17-311:5
                    312:1-313:22
                    318:9-18
                    319:1-320:1
                    320:5-7
          Case 01-01139-AMC   Doc 22801-3   Filed 08/14/09    Page 7 of 7

                                                                                 7


Dated: August 14, 2009

                                   Respectfully submitted,


                                          /s/ Erin R. Fay
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